Case 2:05-cr-20157-.]PI\/| Document 22 Filed 07/22/05 Page 1 of 3 Page|D 26

 

IN THE UNITED sTATES DISTRICT cOURT m BY -?~©- D-¢-
FoR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 JUL 22 PH |=59
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arms ng%lm
UNITED sTATEs 0F AMERICA W@UF 7 7-5EMPHIS

Plaintiff,

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v. ) Criminal No. &-_~-,?`0¢§: ZM]_
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légnddy éjz;e;¢/ ) (SO-Day Continuance)
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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I`INUANCE
AND EXCLUSION OF 'I‘IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23, 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

with Ru|e 55 and/or 32(b) FRCrP on ' 0

Th1s document entered on the docket sheet In compliance

Case 2:05-cr-20157-.]PI\/| Document 22 Filed 07/22/05 Page 2 of 3 Page|D 27

So oRDERED this 22nd day of July, 2005.

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JON HIPPS MCCALLA
UNI ED STA'I'ES DISTRICT JUDGE

/ ' \;

Assistant United States Attorney

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Counsel for Defendant(s)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20157 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

David Charles Henry

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William C. Anderson
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142 North Third St.
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Honorable J on McCalla
US DISTRICT COURT

